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                             United States District Court
                                       for the
                             Southern District of Florida

   United States of America, Plaintiff,   )
                                          ) Criminal Case No.
   v.                                     ) 21-20259-CR-Scola/Goodman
                                          )
   Rene Pedrosa, Defendant.               )
         Order Adopting Report and Recommendations, Denying Motion to
                    Suppress, and Excluding Intent Evidence
         This matter is before the Court on Defendant Rene Pedrosa’s motion to
  suppress and/or in the alternative to sever and his notice of intent to introduce
  sexually explicit conduct of a victim. (Mot. Suppress, ECF No. 63; Not. Intent,
  ECF No. 73, sealed.)) The Court referred the motion to suppress/sever to
  Magistrate Judge Jonathan Goodman for a report and recommendations.
  Following an evidentiary hearing, Judge Goodman issued a report and
  recommendations. (Rep. & Rec., ECF No. 126.) The Defendant timely objected to
  the report and recommendations. (Obj., ECF No. 128.) The Government has
  responded to those objections. (Resp. Obj., ECF No. 130.) Separately, the
  Government filed objections to the Defendant’s notice of intent. (Resp. Not.
  Intent, ECF No. 82, sealed.) Additionally, the Court conducted a hearing on May
  16, 2023, at which the Defendant and the Government presented oral argument
  on the motion to suppress/sever, Judge Goodman’s report and
  recommendations, and the notice of intent. After careful consideration of the
  parties’ written submissions and oral arguments, the record, and the relevant
  legal authorities, the Court adopts Judge Goodman’s report and
  recommendations (ECF No. 126) and denies the motion to suppress/sever (ECF
  No. 63), and the Court denies the Defendant’s request to introduce the evidence
  proffered in the notice of intent. (ECF No. 73, sealed.)

        1. Background
          Defendant Rene Pedrosa is charged with five counts: attempted coercion
  and enticement of a minor to engage in sexual activity (Count I, 18 U.S.C.
  § 2422(b)); coercion and enticement of a minor to engage in sexual activity (Count
  II, 18 U.S.C. § 2422(b)) production of child pornography (Count II, I18 U.S.C.
  § 2251(a), (e)); receipt of child pornography (Count IV, 18 U.S.C. § 2252(a)(2),
  (b)(1)); and attempted possession of child pornography (Count V, 18 U.S.C.
  § 2252(a)(4)(B), (b)(2)). (Supers. Indict., ECF No. 47.)
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          The charges against Defendant Pedrosa stem from a series of alleged
  interactions between the Defendant and the victim, a then-minor teenage male.
  The Government alleges that the Defendant sent illicit text messages to the
  victim and sexually assaulted the victim. (Mot. Suppr. at 2.)
          The Defendant moved to suppress evidence obtained as the result of a
  search warrant issued to Google, LLC (“Google”) to obtain information associated
  with the Defendant’s Gmail account, as well as the Defendant’s web searches
  prior to the alleged commission of the crimes charged. (Id. at 3-6.) The Defendant
  asserted that the evidence obtained from the Google warrant should be
  suppressed because the warrant was overbroad and also unduly prejudicial
  under Federal Rule of Evidence 403. (Id.) Alternately, the Defendant argued,
  Count V of the superseding indictment should be severed and tried separately
  from Counts I-IV. (Id. at 6-7.)1
          Judge Goodman issued a report and recommendations, finding that the
  Google warrant was issued in good faith, and therefore should not be excluded.
  (Rep. & Rec. at 27-28.) Further, Judge Goodman noted, the warrant was not “so
  overly broad on its face” that the federal agents who applied for it would not have
  reasonably presumed it to be valid. (Id. at 32.) And Judge Goodman observed
  that whether the warrant was actually overbroad would be “at most, a close call.”
  (Id. at 35.) Accordingly, Judge Goodman recommended upholding the Google
  warrant under the good faith exception. (Id.)
          Next, Judge Goodman recommended that the Court deny the Defendant’s
  motion to exclude the evidence under Rule 403. (Id. at 36.) Because Count V
  “charges [Pedrosa] with attempted possession of child pornography between July
  2015 and August 2016,” Judge Goodman observed that the evidence obtained
  during the forensic examination of the Defendant’s web and browser history
  following the issuance of the Google warrant would not be unfairly prejudicial.
  (Id. at 36-37.)
          Finally, Judge Goodman recommended denying the Defendant’s request
  to bifurcate his trial. In doing so, he found that the offenses joined are similar in
  nature and that the Defendant will not be subjected to compelling prejudice,
  such that severance would be warranted. (Id. at 38-40.) Pedrosa now objects to
  each of Judge Goodman’s recommendations, arguing that the Report &
  Recommendations errs in each of its suggested outcomes. (Obj. at 1-5.)
          Separately, the Court will also address Pedrosa’s notice of intent to
  introduce sexually explicit conduct of a victim. (Not. Intent at 4.) In the notice,

  1The Magistrate Judge had a difficult time discerning the exact relief the Defendant was actually
  requesting in the motion to suppress. (Rep. & Rec. at 3 n.1.) The Defendant later clarified the
  requested relief, and the Court will address the relief requested in that clarification. (Id.; Not.
  Clarification, ECF No. 120.)
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  the Defendant proffers that he seeks to introduce at trial, through cross
  examination of the victim, that the victim engaged in sexually explicit or sexually
  suggestive communications with other individuals.2 (Id.) The Defendant seeks to
  introduce these communications under Federal Rule of Evidence 412(b)(1)(C),
  arguing its exclusion would violate his constitutional rights. (Id.) The
  Government objects to the introduction of any of these communications and
  argues, in response, that the proffered evidence is irrelevant and would
  constitute a prohibited attack on the minor victim’s general credibility. (Resp.
  Oppn. Not. Intent at 10-11.)

     2. Legal Standard
         A court may refer a motion to suppress evidence to a magistrate judge for
  a report and recommendation under Federal Rule of Criminal Procedure 59. A
  motion to suppress is considered a dispositive motion under the Rule, so if a
  party “serve[s] and file[s] specific written objections to the proposed findings and
  recommendations,” then a court “must consider de novo any objection to the
  magistrate judge’s recommendation.” Fed. R. Crim. P. 59(b).
         “In order to challenge the findings and recommendations of the magistrate
  judge, a party must file written objections which shall specifically identify the
  portions of the proposed findings and recommendation to which objection is
  made and the specific basis for objection.” See Macort v. Prem, Inc., 208 F. App’x
  781, 783 (11th Cir. 2006) (quoting Heath v. Jones, 863 F.2d 815, 822 (11th
  Cir.1989)) (cleaned up). The objections must also present “supporting legal
  authority.” L.R. 4(b). Once a district court receives “objections meeting the
  specificity requirement set out above,” it must “make a de novo determination of
  those portions of the report to which objection is made and may accept, reject,
  or modify in whole or in part, the findings or recommendations made by the
  magistrate judge.” Macort, 208 F. App’x at 783–84 (quoting Heath, 863 F.2d at
  822) (cleaned up). To the extent a party fails to object to parts of the magistrate
  judge’s report, those portions may be reviewed for clear error. Macort, 208 F.
  App’x at 784.

     3. Analysis
        The Court finds Judge Goodman’s findings of fact and conclusions of law
  to be well-reasoned, thorough, cogent, and compelling. Defendant Pedrosa’s

  2 The notice of intent, its respective exhibits, and the Government’s objections are all filed under

  seal. (ECF Nos. 73, sealed; 82, sealed.) The Court has reviewed each of the proffered
  communications in camera, as required by Federal Rule of Evidence 412(c). Nonetheless, the
  Court will address the Defendant’s proffered evidence in non-specific terms here to avoid any
  issues with the very sensitive nature of those proffers.
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  objections are without merit. As the Court addresses in detail below, it adopts
  and affirms Judge Goodman’s report and recommendations. In doing so, the
  Court finds that the Google warrant was issued in good faith, that the evidence
  obtained in the forensic examination in response to the warrant is not unduly
  prejudicial, and that Count V need not be severed and tried separately.
        Additionally, the Court finds that none of the victim’s messages and/or
  photos that the Defendant seeks to introduce at trial are admissible. The
  evidence in question is shielded by Rule 412, not relevant to the allegations here,
  and not necessary to vitiate the Defendant’s constitutional right to cross
  examination.

      A. The Evidence Obtained Via the Google Warrant Was Obtained in
         Good Faith and Is Not Unduly Prejudicial
         First, the Defendant objects to Judge Goodman’s recommendation to
  uphold the Google warrant. (Obj. at 1-2.) Upon a de novo review, the Court finds
  that Judge Goodman’s recommendation is correct: the Google warrant was, at
  worst, obtained in good faith.3 Accordingly, the evidence obtained through it
  should not be suppressed.
         “‘[E]vidence obtained in objectively reasonable reliance on a subsequently
  invalidated search warrant’ should generally not be excluded.” United States v.
  Blake, 868 F.3d 960, 974–75 (11th Cir. 2017) (quoting United States v. Leon, 468
  U.S. 897, 922 (1984)). Exclusion may be justified where “the warrant was based
  on an affidavit so lacking in indicia of probable cause as to render official belief
  in its existence entirely unreasonable” or “if the warrant was so facially
  deficient—i.e., in failing to particularize the place to be searched or the things to
  be seized—that the executing officers could not have reasonably presumed it to
  be valid.” Id. (cleaned up). Otherwise, where warrants are not “so facially deficient
  that the [law enforcement officers] who executed them could not reasonably have
  believed them to be valid,” evidence obtained through the warrant need not be
  excluded under the good faith exception. Id. (cleaned up).
         Here, the FBI agents who obtained and executed the Google warrant acted
  in good faith. As Judge Goodman observed, the FBI agents’ application process
  and execution of the warrant support a finding of good faith. (Rep. & Rec. at 35.)
  The fact that this type of warrant has been routinely approved in the Southern
  District of Florida supports a finding of good faith. (Id.) The agents would have
  therefore reasonably believed the Google warrant to be valid. (Id.) Finally, the

  3 Having reviewed the warrant itself (Mot. Suppr. Ex C, ECF No. 63-3), as well as the FBI agent’s
  affidavit in support of the warrant (Resp. Oppn. Mot. Suppr. Ex A., ECF No. 76-1), the Court also
  agrees with Judge Goodman that the Google warrant was, at worst, “a close call” with regards to
  its purported overbreadth. (Rep. & Rec. at 35.)
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  Google warrant is remarkably similar to the warrant the Eleventh Circuit
  addressed in Blake. 868 F.3d at 974-75 (applying the good-faith exception to
  overly broad warrants to Facebook where the warrants were “not ‘so facially
  deficient’ that the FBI agents who executed them could not have reasonably
  believed them to be valid.”). Therefore, the Court denies the motion to suppress
  the evidence obtained in response to the Google warrant.
         Second, the Defendant objects to the admissibility of the evidence obtained
  in response to the Google warrant as more prejudicial than probative under Rule
  403. (Obj. at 4-6.) More specifically, the Defendant argues that because the
  Government cannot prove he actually found child pornography in response to
  his Google searches, presenting evidence of his searches to the jury would result
  in unfair prejudice. (Id.)
         The standard for “unfair prejudice” with regards to a criminal defendant
  “speaks to the capacity of some concededly relevant evidence to lure the
  factfinder into declaring guilt on a ground different from proof specific to the
  offense charged.” Old Chief v. United States, 519 U.S. 172, 180 (1997). Rule 403
  “is an extraordinary remedy which the district court should invoke sparingly,
  and the balance should be struck in favor of admissibility.” United States v.
  Lopez, 649 F.3d 1222, 1247 (11th Cir. 2011).
         The Defendant makes the same argument here that he did before the
  Magistrate Judge, and he fails to address the finding that underpinned Judge
  Goodman’s decision: that the FBI agent’s testimony “established that the
  evidence Pedrosa seeks to exclude is the evidence which, in part, establishes that
  Pedrosa committed the crimes charged in Count V.” (Rep. & Rec. at 37.) In other
  words, the Defendant effectively argues that the Government cannot establish
  that the crime alleged was committed, so unrebutted evidence that would tend
  to prove that the crime was in fact committed should be excluded. (See Obj. at
  5.) This is not the purpose of Rule 403—applying the Rule here, as the Defendant
  asks, would in fact turn the rule on its head. Accordingly, the Court will not
  exclude the evidence of the Defendant’s search history obtained through the
  Google warrant as being unfairly prejudicial.

     B. Count V Is Similar in Character to Counts I-IV and Need Not Be
        Severed
        The Defendant also argues that the Report and Recommendation errs by
  not severing his trial on Count V, alleging attempted possession of child
  pornography, because “there are no similar offenses [between Count V and
  Counts I-IV] because simply searching for pornography (which the Government
  cannot prove that it was child pornography [sic]) is completely legal.” (Obj. at 4.)
  As with the Defendant’s argument against the introduction of his search history,
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  this argument turns the standard for severance on its head. Seizing on a
  government’s expert’s unwillingness to state with certainty beyond a reasonable
  doubt that certain images recovered from the Defendant’s search history depict
  minors, the Defendant claims that this proves he was only searching for and
  viewing legal pornography. (Id.)
         “Rule 8(a) is construed broadly in favor of initial joinder, allowing joinder
  of offenses that ‘are of the same or similar character,’ even if such offenses do
  not arise at the same time or out of the same series of acts or transactions. United
  States v. Hersh, 297 F.3d 1233, 1241 (11th Cir. 2002). The Eleventh Circuit has
  confirmed that “Rule 8(a) is not limited to crimes of the “same” character but
  also covers those of ‘similar’ character, which means ‘nearly corresponding;
  resembling in many respects; somewhat alike; having a general likeness.’” Id.
  (cleaned up). Further, joined offenses “need only be similar in character, not in
  evidence.” Id. (emphasis in original).
         Once again, the Defendant’s argument ignores the testimony of the FBI
  agent and Judge Goodman’s findings that the evidence Pedrosa seeks to sever
  out from the main trial is also the evidence that would tend to prove the
  allegations in Count V. (Rep. & Rec. at 37-40.) In other words, Pedrosa argues
  that the evidence that would suggest the charges are of a similar nature must be
  presented separately because another witness did not (fully) agree with the
  Government’s conclusions drawn from that evidence. The Government has
  provided sufficient evidence, at this stage, to suggest a substantial similarity
  between the crimes charged. United States v. Hersh, 297 F.3d 1233, 1242 (11th
  Cir. 2002) (affirming order denying motion to sever possession of child
  pornography counts from counts alleging engaging in sexual activity with a
  minor and observing that “[a]fter thoroughly reviewing the record here, we are
  fully satisfied that both sets of counts are ‘similar’ in that they reflect [the
  defendant’s] repeated participation in the sexual exploitation of minors.”).
         Pedrosa, in turn, has not demonstrated compelling prejudice. Id. In fact,
  as Judge Goodman observes, were any prejudice to exist based on Pedrosa’s
  argument, it would actually be the other way around: “The evidence supporting
  Counts I-IV will presumably consist of testimony that Pedrosa groped a minor’s
  genitalia and buttocks, kissed a minor forcefully, encouraged a minor to send
  sexually explicit photographs, and sent sexually explicit photographs to a minor
  in response.” (Rep. & Rec. at 39.) The only argument Pedrosa can offer is that
  evidence about his searching for (purportedly) legal pornography would somehow
  prejudice a jury with regards to Counts I-IV.
         The Eleventh Circuit has rejected this sort of argument before. Hersh, 297
  F.3d at 1243 (observing that “a reasonable jury undoubtedly would have found
  both the evidence of Hersh's child molestation and the evidence of Hersh's child
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  pornography very inflammatory, and Hersh has offered no support for the
  contention that the evidence of child pornography was somehow more prejudicial
  or inflammatory than the charge that he repeatedly molested young, poverty-
  stricken boys from Third World countries.”) (emphasis in original); see also
  United States v. Little, 864 F.3d 1283, 1290 (11th Cir. 2017). Additionally, the
  Court can issue curative instructions to the jury to address any potential
  prejudice that could foreseeably arise. Id. The Court therefore denies Pedrosa’s
  motion to sever Count V.

     C. The Proffered Communications Are Impermissible Evidence of
        Sexual Behavior or Predisposition Under Rule 412
         Having confirmed Judge Goodman’s recommendations on the motion to
  suppress, the Court now addresses the Government’s objections to the
  Defendant’s notice of intent to introduce sexually explicit conduct of a victim.
  The Defendant seeks to introduce four categories of evidence: (1) nude pictures
  the victim took of himself; (2) messages between the victim and openly gay radio
  and television personalities; (3) text messages between the victim and third-
  parties allegedly adult males that are somewhat flirtatious; and (4) message
  between the victim and third-party, allegedly adult males in which victim says
  he needs a “sugar daddy.” (Not. Intent Exs. 1-6, ECF No. 73-1, and as proffered
  during hearing sealed). The Defendant relies upon Federal Rule of Evidence
  412(b)(1)(C) to proffer this evidence, arguing that excluding it would violate his
  constitutional right to cross-examine the victim regarding the Defendant’s and
  the victim’s alleged relationship began and progressed. (Not. Intent at 6-8.)
         The Government objects to the entry of any of this evidence, arguing that
  it is would not support constitutionally protected cross-examination and would
  instead violate Rule 412(a). (Resp. Not. Intent at 10-12.) Instead, the Government
  asserts, allowing the Defendant to introduce this evidence would produce the
  exact sort of “chilling effect” on sexual assault victims that Rule 412 is intended
  to prevent. (Id.)
         The Government is correct. The evidence that the Defendant seeks to
  introduce is prohibited by Rule 412(a), which states that “evidence offered to
  prove that a victim engaged in other sexual behavior” or “offered to prove a
  victim’s sexual predisposition” is inadmissible in a proceeding involving “alleged
  sexual misconduct.” Fed. R. Evid. 412(a). The Advisory Committee notes make
  clear that the Rule’s purpose is to “safeguard the alleged victim against the
  invasion of privacy, potential embarrassment[,] and sexual stereotyping that is
  associated with public disclosure of intimate sexual details.” Id. advisory
  committee’s note (1994). The Rule accomplishes this goal “by barring evidence
  relating to the alleged victim's sexual behavior or alleged sexual predisposition,
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  whether offered as substantive evidence or for impeachment, except in
  designated circumstances in which the probative value of the evidence
  significantly outweighs possible harm to the victim.” Id.
         The Eleventh Circuit has repeatedly barred the use of the sort of evidence
  that the Defendant seeks to introduce here, even in the context of the right to
  cross examination of the victim-accuser. United States v. Culver, 598 F.3d 740,
  749-50 (11th Cir. 2010); United States v. Allmond, 871 F. App’x 887, 889 (11th
  Cir. 2020). In Culver, the Eleventh Circuit affirmed the district court’s exclusion
  of evidence of the minor victim’s alleged sexual history because the key issue in
  that case was the victim’s identity. 598 F.3d at 749. Further, the district court
  allowed the defense to inquire into topics relevant to the charges at hand in cross
  examination. Id. at 750. Even more pertinently, in Allmond, the Eleventh Circuit
  affirmed the district counsel’s exclusion of evidence of the minor victim’s alleged
  sexual history where the defense sought to introduce evidence that the minor
  victims had lied about their ages to other men, when the defendant was on trial
  for enticing a child to engage in sexual activity. 871 F. App’x at 889, 892-93. The
  Eleventh Circuit observed that excluding this evidence “did not violate [the
  defendant’s] constitutional right to challenge [the victim’s] credibility and did not
  fall within Rule 412(b)(1)(C)’s narrow exception.” Id. at 893.
         Nothing in the Court’s determination here will prevent the Defendant from
  cross-examining the victim with regards to his credibility. And nothing in the
  proffered messages would bear on the victim’s credibility; rather, it would only
  relate “to the alleged victim’s sexual behavior or alleged sexual predisposition,”
  in violation of Rule 412. Fed. R. Evid. 412 advisory committee’s note (1994);
  Culver, 598 F.3d at 749-50; Allmond, 871 F. App’x at 892-93. Accordingly, the
  Court will not admit the proffered evidence and sustains the Government’s
  objections.

     4. Conclusion
        Accordingly, based on the foregoing, it is hereby ORDERED and
  ADJUDGED that Judge Goodman’s report and recommendations is ADOPTED
  (ECF No. 126) and Defendant Rene Pedrosa’s motion to suppress/sever is
  DENIED. (ECF No. 63.) Further, the Court denies the Defendant’s request to
  introduce the communications proffered in his notice of intent, sustains the
  Government’s objections, and excludes the evidence proffered in that notice.
  (ECF No. 73.)
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        Done and ordered in Miami, Florida, on May 16, 2023.


                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
